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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA


                                              )
IN RE: PHILIPS RECALLED CPAP,                 )
BI-LEVEL PAP, AND MECHANICAL                  )
VENTILATOR PRODUCTS                           )       Master Docket: Misc. No. 21-1230
LITIGATION                                    )
                                              )
                                              )       MDL No. 3014
This Document Relates to:                     )
                                              )
Murray v. Philips, et al., #23-627            )
                                              )
                                              )


                                      ORDER OF COURT

       AND NOW this 16th day of May, 2025, it is hereby ORDERED that the Order of Court,

which remanded Civil Action #23-627 to the Santa Barbara, California Superior Court, Cook

Division, and accompanying memorandum (ECF Nos. 15, 16), are hereby STRICKEN. The

court requires further briefing with respect to Philips’ request for severance.

       In researching a different remand motion, the court became aware of precedential

decisions recognizing that severance may be appropriate in some circumstances, even if the court

lacks subject-matter jurisdiction. See Zambelli Fireworks Mfg. Co. v. Wood, 592 F.3d 412 (3d

Cir. 2010):

       Under this Court's continuing obligation to assess its subject matter jurisdiction, we
       can dismiss a suit sua sponte for lack of subject matter jurisdiction at any stage in
       the proceeding. Carlsberg Res. Corp., 554 F.2d at 1256. However, considerations
       of efficiency, fairness, and judicial economy weigh against a wholesale dismissal
       of the action at this stage. See Caterpillar Inc. v. Lewis, 519 U.S. 61, 75, 117 S.Ct.
       467, 136 L.Ed.2d 437 (1996) (“Once a diversity case has been tried in federal court,
       with rules of decision supplied by state law[,] ... considerations of finality,
       efficiency, and economy become overwhelming.”); Newman–Green, Inc. v.
       Alfonzo–Larrain, 490 U.S. 826, 836, 109 S.Ct. 2218, 104 L.Ed.2d 893 (1989) (
       “[R]equiring dismissal after years of litigation would impose unnecessary and
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         wasteful burdens on the parties, judges, and other litigants waiting for judicial
         attention.”). Such considerations are particularly relevant where, as here, the
         contract at the heart of this litigation is between two diverse parties who could refile
         an identical suit in the same federal forum.

         Alternatively, we may exercise our authority under Rule 21 to dismiss the
         nondiverse party and proceed with the appeal.

Id. at 420–21; accord Publicker Indus., Inc. v. Roman Ceramics Corp., 603 F.2d 1065 (3d Cir.

1979):

         Publicker contends, however, that a dismissal of Continental required a dismissal
         of the entire suit. It argues that if complete diversity is lacking, then the court has
         absolutely no jurisdiction over the action. We see this view of the district court's
         power under Fed. R. Civ. P. 21 as too restrictive. The court may dismiss a
         nondiverse party in order to achieve diversity even after judgment has been entered.
         See Finn v. American Fire & Casualty Co., 207 F.2d 113 (5th Cir. 1953), Cert.
         denied, 347 U.S. 912, 74 S.Ct. 476, 98 L.Ed. 1069 (1954); Wolgin v. Atlas United
         Financial Corp., 397 F.Supp. 1003 (E.D. Pa. 1975), Aff'd without opinion, 530
         F.2d 966 (3d Cir. 1976). And although the district court is precluded from retaining
         diversity jurisdiction by dismissing a nondiverse party if that party is indispensable
         under Fed. R. Civ. P. 19, it has not been contended that Continental is an
         indispensable party with respect to the claims between Roman and Publicker.

Id. at 1069.

   The parties did not address whether the considerations identified in Zambelli and

Publicker are applicable to this case (i.e., whether Dr. Polito is a dispensable party and

Philips seeks removal to federal court over Murray’s objection), in light of the present

status of the Philips MDL. No later than May 30, 2025, Philips must file a supplemental

brief addressing those issues. Murray may file a response no later than June 13, 2025.



                                                        BY THE COURT:

                                                        /s/ Joy Flowers Conti
                                                        Joy Flowers Conti
                                                        Senior United States District Court Judge




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